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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 University of California Student
 Association,

           Plaintiff,

            v.                             Civil Action No. 25-354-RDM

 Denise Carter, in her official
 capacity as Acting Secretary of
 Education, et al.,

           Defendants.


                        DECLARATION OF ADITI HARIHARAN

      I, Aditi Hariharan, declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge.

      2.     I am a fourth-year student at the University of California – Davis,

where I am double majoring in Political Science and Nutrition Science, with an

emphasis in Public Health.

      3.     I am a member and the elected President of the University of

California Student Association (UCSA), a student-led nonprofit public benefit

association. UCSA has over 230,000 members, each of whom are undergraduate

students at one of the University of California’s nine undergraduate campuses.

UCSA was formed to serve the interests of current and future students of the

University of California.
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      4.     UCSA advocates on behalf of its members on issues including financial

aid, student debt, privacy, and student safety. UCSA advocates for its members at

the federal and state level, and on university campuses.

      5.     Tens of thousands of UCSA members have submitted the Free

Application for Federal Student Aid (FAFSA) to the Department of Education (ED)

to determine their eligibility for both federal student aid, state aid, and non-

governmental scholarship programs. UCSA members have received federal student

aid from ED, including Direct Loans, Federal Work-Study, and Pell Grants.

      6.     UCSA members include a substantial number of “mixed-status”

students.

      7.     In approximately October of 2020, I filled out a FAFSA, in which I

responded to questions requiring me to provide sensitive information regarding me

and my family. By submitting the FAFSA to ED, that information was all provided

to ED. To the best of my recollection, I was required to provide ED with my name,

Social Security number, birth date, home address, email address, telephone number,

and driver’s license number. To the best of my recollection, to provide this

information I used the IRS Data Retrieval Tool, which allowed me to transfer

income information from tax returns directly to the FAFSA.

      8.     It is my understanding from media reports that ED has given access to

the personal data and information that I provided, as well as similar data and

information that ED collected from, and maintains regarding, other UCSA members

to individuals associated with the so-called “Department of Government Efficiency”
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(DOGE). It is my understanding that the DOGE’s handling of my data, and that of

UCSA members, has increased the risks that our data will be disclosed further.

      9.     Providing DOGE access to personal information violates the privacy of

UCSA members, including myself. I am aware that federal privacy laws govern ED’s

ability to share data with third parties. I have not consented to having my personal

or financial data shared with staff and/or members of DOGE. I have not consented

to having my personal and financial data used for any purpose other than the

purposes previously disclosed by ED in its System of Records Notices.

      10.    ED’s sharing of my information with DOGE exposes UCSA members,

including myself, to an increased risk of identity theft, fraudulent financial

activities, further unconsented disclosures to additional third parties, and other

misuse of our sensitive personal and financial data. This has caused me and our

members significant emotional distress, which will continue so long as DOGE has

access to our information.

      11.    The privacy violations and security risks are likely to have a chilling

effect for UCSA members. Current and future students who are fearful about the

risks of turning over their data to ED may be less likely to submit the FAFSA in

future years and receive the federal student aid they need to pay for their education

at the University of California.

      12.    The injuries suffered by UCSA’s members are ongoing and will persist

unless and until staff and/or members of DOGE and other third parties no longer

have access to their sensitive personal and financial data.
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I declare under penalty of perjury that the foregoing is true and correct.



Executed on February 9, 2025.




                                           Aditi Hariharan
